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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 NEW ALBANY DIVISION

  UNITED STATES OF AMERICA,                           )
                                                      )
                              Plaintiff,              )
                                                      )
                      v.                              ) Case No. 4:14-00031-TWP-VTW
                                                      )
  MIGUEL MOMPIE (07),                                 )
  RITZY ROBERT-MONTANER (08),                         )
                                                      )
                             Defendants.              )

                           ENTRY DENYING MOTIONS TO SUPPRESS

         This matter is before the Court on Defendant Ritzy Robert-Montaner’s (“Montaner”)

  Motion to Quash Arrest and Suppress all Evidence Obtained as a Result Thereof (Filing No. 437)

  and Defendant Miguel Mompie’s (“Mompie”) Second Amended Motion to Suppress Fruits of

  Search (Filing No. 445). Montaner is charged with Conspiracy (Count 23) in violation of 18

  U.S.C. § 371 and 18 U.S.C. § 659. Her co-defendant, Mompie, is charged with Interstate

  Transportation of Stolen Property (Counts 10, 12, 14, 16, 18 and 20), Possession of Goods Stolen

  from Interstate Commerce (Counts 9, 11, 13, 15, 17 and 19), and Conspiracy (Count 23). Both

  Defendants have petitioned the Court to suppress from introduction into evidence any and all items

  that were seized from their person and from a Chevrolet Sonic rental car on February 25, 2015.

  An evidentiary hearing was held on September 22, 2016. Pursuant to Federal Rule of Criminal

  Procedure 12(d), the Court now states its conclusions of law. For the reasons set forth below the

  Court DENIES each Defendants’ Motion to Suppress.

                                      I. FINDINGS OF FACT
         On December 9, 2014, a semi-tractor and trailer containing 4,610 T-Mobile cellular

  telephones were stolen from a truck stop in Oklahoma City, Oklahoma (the “T-Mobile load”).
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  (Filing No. 472 at 1.) The stolen merchandise was valued at approximately $460,000.00. Id. On

  or about December 17, 2014, the FBI was contacted by an investigator hired by T-Mobile to

  investigate the theft of the T-Mobile load. (Filing No. 472 at 2.) The investigator reported that

  one of the stolen cell phones from the T-Mobile load had been activated at a location in Oklahoma

  City on December 10, 2014. Id. While other stolen cell phones were subsequently activated, the

  location and time of activation of this particular cell phone led the FBI to conclude that the phone

  activated on December 10, 2014 was in the possession of someone connected to the theft of the T-

  Mobile load. Id.

         Sometime during their investigation the FBI learned through a confidential informant that

  Mompie and others had recently stolen a load of T-Mobile telephones, and that Mompie was

  possibly carrying one of the telephones with him. Id. at 3. Upon receiving this information, the

  FBI acquired the toll records of the stolen cell phone. Id. An investigation on the telephone

  numbers associated with the stolen cell phone revealed call activity between Mompie and other

  associates, named by the confidential informant, that were also allegedly involved in the theft of

  the T-Mobile load. Id. After a review of the data, the FBI discovered that cell phones associated

  with Mompie and his associates had been active around the truck stop where the T-Mobile load

  was stolen, including on the same day. Id.

         On February 18, 2015, the FBI acquired a warrant to track and monitor the precise location

  of the activated stolen cell phone believed to be in the possession of Mompie, who resided in

  Jeffersonville, Indiana.

         On February 23, 2015, the FBI with the help of the Kentucky State Police (“KSP”)

  determined that the stolen cell phone had traveled to Virginia.         Wes Rowe (“Rowe”), an

  investigator with the National Insurance Crime Bureau (“NICB”), was contacted for assistance.



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  Id. The NICB is a non-profit organization that receives support from insurance companies, and its

  mission is to lead a united effort between insurers and law enforcement agencies to prevent and

  combat insurance fraud and crime. Id. Rowe’s position within the NICB was to conduct complex

  fraud investigations in the southwest Virginia area and supervise all field operations for North and

  South Carolina. Rowe had previously been a deputy for the Wythe County Sheriff’s Office

  (“WCSO”), and remained a reserve deputy with full law enforcement authority during his

  participation in the FBI investigation. In the five years that he had worked for NICB, Rowe had

  been involved in the investigation of approximately forty organized Cuban groups involved in

  cargo thefts.

         Sgt. Motley (with the KSP) and FBI agent Paul Meyer (“Agent Meyer”) advised Rowe that

  a Cuban suspect, known to be involved in cargo theft, had flown from Louisville, Kentucky to

  Chicago, Illinois and was currently tracked (via the stolen cell phone) to be at the Richmond

  International Airport in Richmond, Virginia. The suspect was identified as Mompie. Sgt. Motley

  and Agent Meyer informed Rowe that Mompie might be meeting with associates who were

  previously known by Rowe to have been involved in other cargo thefts.

         In tracking the cell phone, Sgt. Motley and Agent Meyer began relaying, in real time,

  information to Rowe and other law enforcement officers involved in the investigation. Rowe was

  constantly advised of the cell phone’s location. The cell phone was located near a Hewlett Packard

  distribution center in Richmond. The cell phone then traveled to Caroline County and was located

  near a McKesson distribution center. Rowe contacted Caroline County’s Sherriff’s office to put

  them on notice of the current situation and requested that they contact him if a cargo theft was

  reported. However, no incidents took place on that afternoon. Rowe kept tracking the cell phone




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  and alerting authorities along the cell phone’s route. Once the cell phone reached Roanoke,

  Virginia and became stationary at a motel, Rowe ceased monitoring the activity.

         The next day, on February 24, 2015, Rowe was contacted again because the cell phone was

  traveling on I-581/ U.S. 220 towards Greensboro, North Carolina. Rowe felt that it was likely that

  the cell phone was headed for the Ralph Lauren distribution center in Greensboro. The cell phone

  did travel to the area of the distribution center and its activity indicated, based on past behavior,

  that the subject was surveilling the center.

         Rowe then alerted Ralph Lauren’s Asset Protection Manager. After the manager began to

  track the outgoing truck loads via GPS, it was determined that the cell phone was following one

  of the truck loads that had recently left the distribution center. John Cannon of the Georgia Bureau

  of Investigation was advised of the situation as the load and the cell phone were headed towards

  the South Carolina/Georgia state line. Rowe and the Ralph Lauren manager were working together

  to determine if Mompie, who was in possession of the cell phone, would follow and steal the load.

         However, before the two drivers in the truck received the information on where to do the

  controlled stop, they stopped at a gas station in South Carolina. The drivers stated that, while at

  the gas station, one of them went inside while the other one stayed with the truck. They also stated

  that they had been followed by a small silver car with three passengers, one of whom followed the

  driver into the store. After the two remaining passengers realized there was a second driver, the

  passenger who had gone inside went back to the car and they left the station. Tracking resumed,

  and it was discovered that the car was headed back towards Greensboro, subsequently becoming

  stationary at a motel two miles away from the Ralph Lauren distribution center.

         The Asset Protection Manager was again informed of the situation, and she went to the

  motel near the Ralph Lauren distribution center to look for vehicles matching the description given



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  by the truck drivers. The manager provided Rowe with the license plate numbers of four vehicles.

  The only vehicle that proved to be a small silver four-door car was a Chevrolet Sonic that had been

  rented from Enterprise Rent-A-Car (“Enterprise”) by Montaner. Rowe recognized Montaner as

  the known girlfriend of Orlis Machado Cantillo (“Machado”), an identified member of a Cuban

  organized cargo theft group operating out of the Louisville, Kentucky area.

         On February 25, 2015, the stolen cell phone returned to the Ralph Lauren distribution

  center. It then began traveling towards Sanford, North Carolina, home of the Coty Cosmetics

  distribution center. The cell phone did not stay in the area very long and began traveling north

  towards Wythe County, Virginia. The appropriate authorities were contacted. Rowe followed the

  cell phone to a TA truck stop and observed the silver Sonic, which was empty at the time. Rowe

  watched the vehicle until a female and male exited the truck stop store and entered the vehicle on

  the passenger’s and driver’s sides, respectively. Rowe was able to identify Montaner as the female

  driver, but was unable to identify the male. Rowe did not see a third passenger. A surveillance

  video at the truck stop showed that Montaner was following a truck driver inside the truck stop.

  Both Montaner and the male went back into the truck stop for a few minutes before Montaner

  exited and left the truck stop alone in the silver Sonic.

         Rowe contacted Brian Lawson (“Corporal Lawson”), the on-duty corporal for WCSO that

  evening, about his observations and that he thought a cargo truck theft might be occurring. Rowe

  wanted the Wythe County officers to locate the silver Sonic while he continued to monitor the

  truck stop. Shortly thereafter, the WCSO central dispatch broadcast that a tractor and trailer had

  been stolen from the TA truck stop. Rowe provided Corporal Lawson with the cell phone’s

  location near an area not far from the truck stop. Corporal Lawson relayed all of this information

  to Deputy E. Wayne Kirby (“Deputy Kirby”), including a description and license plate number of



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  the suspect vehicle. While patrolling the area, Deputy Kirby spotted a silver Sonic coming from

  a dead end road, which now had three passengers. Deputy Kirby stopped the vehicle because it

  was traveling on a secluded dead end road, it was after 10:00 at night, and he was suspicious that

  the vehicle might have had something to do with the tractor and trailer that was just stolen in the

  area. Rowe arrived at the traffic stop and identified the three passengers as Montaner, Mompie,

  and Machado. Montaner was the driver and Mompie was the rear seat passenger. A search was

  conducted of the dead end area from which the suspects’ car had just left and the stolen trailer and

  cargo were found. The tractor was found later, in a different location, unoccupied. The silver

  Sonic was stopped approximately one-third of a mile away from where the stolen trailer was found,

  and one and a quarter of a mile from the truck stop. The tractor was found four and a half miles

  from the truck stop where it was stolen.

         Montaner, Mompie, and Machado were all arrested. Various items—including nine cell

  phones, a backpack, a gallon of white Valspar “Cover & Go” paint, a paint brush, a paint roller, a

  paint roller pan, a Blue Hawk 4-8’paint roller extension handle, and a GPS jamming device—were

  all visible in plain view in the rear passenger compartment of the vehicle. An Apple iPhone 6 was

  seized from Montaner’s pocket incident to her arrest. After they were transported to the sheriff’s

  office, Wythe County Investigator Adam Williams (“Investigator Williams”) appeared before a

  magistrate judge and verbally requested and obtained arrest warrants. A Wythe County magistrate

  judge approved charges against Montaner, Mompie, and Machado for crimes related to cargo theft

  under Virginia state statutes.

         On February 27, 2015, Wythe County Investigator Adam Williams (“Investigator

  Williams”) applied for and received a warrant to search the silver Sonic from a Wythe County

  magistrate judge. In the Affidavit for Search Warrant, Investigator Williams indicated he sought



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  to search the vehicle for items “involved in the theft of a Tractor Trailer stolen from the T/A Travel

  Center, Wytheville, (Wythe County), Virginia on February 25, 2015.” A second search warrant

  was issued on March 15, 2015, for the cell phones recovered from the vehicle. The affidavit for

  the cell phones alleges in part, that the affiant (Investigator Williams) is aware through training

  and experience that persons involved in Grand Larceny work in concert with other persons and

  often use electronic devices to communicate prior to, during, and after the crime has been

  committed.

         On June 24, 2015, Mompie and Machado, along with other alleged associates, were named

  in a twenty-three count federal Superseding Indictment charging them with possession of goods

  stolen from interstate commerce, interstate transportation of stolen goods, and conspiracy (Filing

  No. 32). Montaner is charged only with conspiracy. The February 25, 2015 theft of the Coty

  Cosmetics load is listed as an overt act in the conspiracy. Id.

                                          II. DISCUSSION

         Montaner filed a motion to suppress asserting that officers had no probable cause to arrest

  her or obtain a warrant to seize and conduct searches on the items found in her rental car. (Filing

  No. 437.) Therefore, her arrest and the items seized during the subsequent search should be

  suppressed. For his part, Mompie filed a second motion to suppress any and all items seized from

  his person and from the silver Sonic on the day of his arrest. (Filing No. 445.) Additionally,

  Mompie argues that the traffic stop of the silver Sonic on the day of his arrest was unconstitutional.

  In its Response, the Government argues that the arrest and search were substantiated by probable

  cause and argues that Mompie lacks standing because he had no legitimate expectation of privacy

  in the silver Sonic, and reasonable suspicion existed at the time Deputy Kirby stopped the vehicle.

  The Court will address the Defendants’ respective motions in turn.



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  A.     Montaner’s Motion to Suppress the arrest and stop of her rental car.
         Montaner asserts that officers did not have probable cause to arrest her. She argues that

  the officers never saw her in, or even near, the stolen tractor trailer and the only basis for

  establishing probable cause is that she was observed in the truck stop when the theft took place.

  As support, Montaner cites several cases which conclude that being in the presence of a guilty

  party does not make another person guilty as well. United States v. Di Re, 332 U.S. 581, 594

  (1948); Ybarra v. Illinois, 444 U.S. 85, 91(1979); United States v. Soyland, 3 F.3d 1312, 1314 (9th

  Cir. 1993).

         The Government argues that based on the totality of the circumstances, the officers had

  probable cause to arrest Montaner under the “collective knowledge doctrine,” which allows an

  officer to act if he is reasonably relying on information from another officer. United States v.

  Nicksion, 628 F.3d 368, 376 (7th Cir. 2010); United States v. Nafzger, 974 F.2d 906, 911 (7th Cir.

  1992). They assert that Deputy Kirby received detailed information from Corporal Lawson and

  Rowe regarding the vehicle and the actions of its passengers, and thus he had probable cause to

  stop the silver Sonic and arrest Montaner.

         In order to arrest a person without a warrant, a law enforcement officer must have sufficient

  information and evidence to establish probable cause for the arrest. “Probable cause is established

  when, considering the totality of the circumstances, there is sufficient evidence to cause a

  reasonably prudent person to believe that a search will uncover evidence of a crime.” United States

  v. Harris, 464 F.3d 733, 738 (7th Cir. 2006).

         The Court finds that the officers had the requisite probable cause to arrest Montaner. Law

  enforcement officers had established a connection between Montaner and her boyfriend

  (Machado), who had been previously associated with similar crimes. Rowe and other officers had

  been tracking the vehicle that Montaner had rented and was driving across several states and to the

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  area of several different distribution centers. The silver Sonic that she had rented, via cell phone

  tracking, had been surveilled following a cargo load to a gas station. The silver Sonic was later

  tracked as following another cargo load. At the time of the theft of the Coty Cosmetics load,

  Montaner was seen on video in the truck stop following the truck driver. When Montaner was

  finally stopped in the car, the vehicle was leaving a secluded area where the stolen cargo load was

  later found. Based on the collective knowledge doctrine and all of the evidence acquired by all of

  the law enforcement agents, there was a sufficient amount of information to believe that there was

  a crime and to arrest Montaner.

          In addition, to support their argument that officers had probable cause to arrest Montaner,

  the Government argues that Montaner is wrongfully describing the stop of her vehicle as an arrest.

  The Government asserts that the officers only needed reasonable suspicion to perform the stop of

  her vehicle if they believed that criminal activity was taking place. Terry v. Ohio, 392 U.S. 1, 21-

  22 (1968). Since reasonable suspicion is a lower standard, the Government asserts that all of the

  factors (i.e., Montaner’s renting/driving of the car, the video of her following the truck driver in

  the truck stop) taken together formulated reasonable suspicion, thereby validating the stop of

  Montaner’s car and her subsequent arrest. The Court agrees. Deputy Kirby was patrolling the

  area based on the report of a possible cargo theft. It is the duty of police officers to verify or dispel

  any claims of criminal activity reported by citizens or fellow officers. Therefore, it was reasonable

  for Deputy Kirby to stop a car that matched the description of the suspects’ vehicle which was

  traveling on a dead end road that is rarely used in the nighttime, to investigate further. This

  reasoning further supports the Court’s conclusion that the stop and arrest were valid and

  substantiated by probable cause.

  B.      There was probable cause to support the search warrants.



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        Montaner also asserts that there was no probable cause to validate the warrants that allowed

 officers to seize and search the items, including the cell phones, which were removed from the

 silver Sonic. She asserts that there must be substantial evidence on the record and in the “four

 corners” of the affidavit to support the magistrate’s probable cause finding. United States v.

 Koerth, 312 F.3d 862, 865 (7th Cir. 2002). Montaner cites a Sixth Circuit opinion, holding that

 probable cause needed to search a cell phone requires the phone being used for purposes of

 committing a crime. United States v. Sims, 508 Fed. Appx. 452, 460 (6th Cir. 2012). She relies

 on Riley v. California, which held that the warrantless internal search of a cell phone is not valid

 simply because the phone’s owner is in custody. 134 S. Ct. 2473 (2014).

        In response, the Government argues first that the Court must not conduct a de novo review

 of the sufficiency of an affidavit and that reviewing courts should give deference to the

 magistrate’s decision. Illinois v. Gates, 462 U.S. 213, 236 (1983). The Government asserts

 correctly that the only duty of the reviewing court is to determine whether the magistrate had a

 substantial basis for making his finding of probable cause. Id. at 234.

        As the Court determined above, there was sufficient evidence to support a finding of

 probable cause to stop and arrest Montaner. Much of the same evidence was presented in the

 affidavit for the search warrant. The affidavit stated the following:

        On February 25, 2015, Deputy Wayne Kirby conducted a traffic stop near the
        intersection of Bob Spring Road and Lithia Road in Wytheville (Wythe County),
        Virginia. The stop came as a result of an investigation involving the theft of a 2012
        International TT with a 2010 Utility Box Trailer containing approximately
        $225,000.00 in Coty Cosmetics. As a result of the traffic stop, three subjects (Ritzy
        Montaner ROBERT, Miguel Roberto MOMPIE, and Orlis Cantillo MACHADO)
        were detained, identified and arrested for theft of the aforementioned items, which
        were recovered a short time after the traffic stop at two separate locations in Wythe
        County.

        On February 26, 2015, while following up on the theft, members of your affiant’s
        investigative team identified one of the suspects, ROBERT of Louisville,

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        Kentucky, as being inside the T/A Travel Center, Wytheville (Wythe County),
        Virginia. ROBERT was observed following William Douglas BADKER
        throughout the store. BADKER was the operator of the International TT that was
        stolen by ROBERT, MOMPIE and MACHADO, and ultimately recovered by
        members [sic] your affiant’s investigative team.

 (Filing No. 437-2 at 3). The information in the affidavit sufficiently provided probable cause for

 the search of the vehicle. The magistrate was informed of Montaner’s conduct, including that she

 had been seen following the victim driver in the truck stop and that she had been stopped near

 where the stolen trailer was found.

        The Government asserts other compelling arguments to support the validity of the vehicle

 search. They argue that the officers did not need a warrant to search and seize the items found at

 the time of the arrest because the items were in plain view. The Government asserts that all

 evidence would inevitably have been seized during an administrative investigatory search and the

 search of Montaner’s rental car was subject to the motor vehicle exception to the warrant

 requirement. United States v. Ross, 456 U.S. 798 (1982) (validating the warrantless search of an

 automobile if supported by probable cause). Additionally, the Government contends that the

 search of Montaner’s rental car was lawful, irrespective of the search warrant, as law enforcement

 authorities were collectively cognizant of facts which, given the totality of the circumstances,

 indicated a fair probability that evidence of a crime would be found in the vehicle.

        With respect to the search warrant of the electronic devices recovered from the rental car,

 Montaner again argues that the search warrant affidavit fails to establish probable cause. The

 search warrant affidavit reads as follows:

        On February 25, 2015, Deputy Wayne Kirby (Wythe County Sheriff’s Office)
        detained the persons listed in Section 2 of this affidavit on suspicion of Grand
        Larceny of a Motor Vehicle in Wytheville (Wythe County), Virginia from the TA
        Truck Stop. Upon further investigation, it was determined that the aforementioned
        individuals had commited [sic] grand larceny and were arrested and formally
        charged with numerous felony warrants. In the following days, your affiant and

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        members of your affiant’s investigative team, conducted several other follow-up
        investigations and discovered that at least one, if not all, of these subjects were
        caught on video at the T/A Truck Stop in Wytheville (Wythe County), Virginia just
        prior to their encounter with Deputy Kirby. Four of the cellular telephones
        described in Section 2 of this affidavit were seized search incident to arrest of the
        aforementioned individuals. The other four cellular telephones, along with the
        Apple MacBook Pro laptop computer, were seized as a result of a search warrant
        executed on the 2014 Chevrolet Sonic passenger car that the persons listed in
        Section 2 of this affidavit were in prior to being stopped by Deputy Kirby on
        February 25, 2015. Your affiant is aware through training, experience, and
        conversations with other law enforcement officers that persons involved in the
        crime of Grand Larceny and work in concert with other persons, often use
        electronic devices such as the ones described in Section 2 of this affidavit, to
        communicate prior to, during, and after the crime has been committed.

 (Filing No. 437-3 at 3.)

        The Government responds that Montaner does not assert that she owned, possessed, or

 used any of the devices searched. As such, if the cell phones and computer belonged to the

 passengers in the car, then Montaner has no expectation of privacy and does not have “standing”

 to challenge the search and seizure. See United States v. Stringer, 739 F.3d 391, 396 (8th Cir.

 2014). However, one of the cell phones was retrieved from Montaner’s pocket and the other

 devices were seized from her rental car. The Court finds that Montaner clearly has standing for at

 least the device on her person and, likely, for the devices located within her vehicle.

        The Government asserts that even if Montaner had a reasonable expectation of privacy in

 the devices, the affidavit was supported by probable cause, and the search of the items was valid.

 The Court agrees. In a succinct fashion, Investigator Williams informed the magistrate that the

 cell phones were seized incident to the arrest of the defendants, and through his training,

 experience, and conversations with other law enforcement officers, he was aware that persons

 involved in the crimes charged often work in concert with other persons and use electronic devices

 such as cell phones and laptop computers to communicate prior to, during, and after the crime has

 been committed. Further, by March 19, 2015, the date of the affidavit, Montaner and her

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 codefendants had already been formally charged with felony offenses related to cargo theft. Based

 on the totality of the circumstances, the information given the magistrate was sufficient to

 determine probable cause that evidence of a crime would be found on the devices.

        Finally, even if the warrants were subsequently invalidated, suppression is only appropriate

 when the officers did not rely in good faith on the magistrate’s finding of probable cause. United

 States v. Bell, 585 F.3d 1045, 1052 (7th Cir. 2009) (suppression of evidence seized pursuant to a

 search warrant that is later declared invalid is inappropriate if the officers who executed the warrant

 relied in good faith on the issuing judge’s finding of probable cause). Here, law enforcement

 officers reasonably and in good faith relied on the validity of the search warrants. Accordingly,

 Montaner’s Motion to Suppress is denied.

 C.     Mompie lacks standing to contest the search and seizure of items in the Chevrolet
        Sonic.

        Mompie moves the Court, pursuant to the Fourth Amendment of the Constitution, to

 suppress from introduction into evidence all items that were seized from his person and the silver

 Chevrolet Sonic rental car, in which he was a passenger.

        The Fourth Amendment protects “against unreasonable searches and seizures.” U.S.

 CONST. Amend. IV. “Fourth Amendment rights are personal rights which, like some other

 constitutional rights, may not be vicariously asserted.” Rakas v. Illinois, 439 U.S. 128, 133-34

 (1978). A person who is aggrieved by an illegal search and seizure only through the introduction

 of damaging evidence secured by a search of a third person’s premises or property (such as

 someone else’s vehicle) has not had any of his Fourth Amendment rights infringed. Id. at 134;

 United States v. Yang, 478 F.3d 832, 835 (7th Cir. 2009). The Fourth Amendment will only protect

 an individual from a search or seizure if they themselves have a legitimate expectation of privacy

 in the invaded place. Minnesota v. Carter, 119 S. Ct. 469, 473 (1998). Moreover, a defendant

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 objecting to a search pursuant to the Fourth Amendment bears the burden of proving that he had a

 legitimate expectation of privacy in the area searched. Yang, 478 F.3d at 835. To challenge the

 search, Mompie must show that he had both a subjective expectation of privacy and an objective

 expectation of privacy that society recognizes as legitimate and reasonable. See United States v.

 Haywood, 324 F.3d 514, 515-16 (7th Cir. 2003).

        The Government argues that Mompie lacks standing to contest the search of the vehicle

 because he was a mere passenger in the rental car. (Filing No. 472 at 21.) The issue of standing

 regarding a rental vehicle is one that has been wrestled with in this Circuit, as well as others. This

 issue becomes more challenging when assessing a passenger’s expectation of privacy in a rental

 vehicle.

        Mompie cites to two Seventh Circuit cases in support of his argument for standing. He

 first cites to United States v. Sanford, 806 F.3d 954 (7th Cir. 2015). In Sanford, the Seventh Circuit

 declined to address the issue of standing regarding an unlicensed driver of a rental car. Sanford

 was a passenger of the rental car at the time it was stopped for speeding. Subsequently, drugs were

 found in the vehicle and Sanford, along with the driver of the car and another passenger, were

 arrested on drug charges. Id. at 955-56. The Seventh Circuit noted that there is currently a circuit

 split regarding the issue of standing when it comes to an unauthorized driver of a rental car. Id. at

 958. After concluding that most circuits preclude standing for such individuals, the Seventh

 Circuit declined to decide the issue. Instead, the court held that because Sanford had standing to

 challenge the seizure of his person when the car was stopped, then he also had standing to challenge

 any search that resulted from that seizure if the seizure was unlawful. Id. at 958-59.

        Mompie makes much of the fact that in Sanford the Seventh Circuit mentioned that

 Sanford’s lack of a valid driver’s license might preclude his standing regarding the search of the



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 vehicle. Id. In contrast, Mompie argues that, because he had a valid Commercial Driver’s License,

 he has standing. However, in Sanford, as noted above, the Seventh Circuit did not decide the issue

 of standing regarding an unauthorized driver of a rental car. Therefore, Sanford does not provide

 any compelling support for Mompie’s standing argument regarding the search of the Chevrolet

 Sonic.

           Mompie also cites to United States v. Walton, 763 F.3d 655 (7th Cir. 2014), in support of

 his standing argument. In Walton, the Seventh Circuit decided that an authorized driver of a rental

 car with an invalid license to drive had standing to challenge a search of the rental vehicle. Id. at

 666. In Walton, the defendant was the authorized driver of the rental car under the rental

 agreement, but he had a suspended license. At the time of the stop and search of the vehicle,

 Walton was a passenger in the vehicle. Nonetheless, because he was the authorized driver of the

 vehicle, the fact that he had an invalid license did not preclude his standing to challenge the search.

          Here, Mompie was not an authorized driver of the silver Sonic. In fact, the only authorized

 driver was Montaner, who was driving the vehicle when it was pulled over on the day of their

 arrest. (Filing No. 472 at 23-25.) Mompie argues that he was an authorized driver because

 Montaner granted him permission to drive the vehicle earlier in the day. (Filing No. 484 at 2-3.)

 However, Mompie wrongly concludes that Montaner had such authority. The owner of the vehicle

 was EAN Holdings (d/b/a Enterprise), and under the terms of rental agreement, only Enterprise

 had the authority to make someone an authorized driver of the vehicle. The rental agreement did

 not grant Mompie such authority and, therefore, unlike the defendant in Walton, Mompie was not

 an authorized driver.

          The Court notes that the Seventh Circuit has not yet decided whether a properly licensed

 but unauthorized driver of a rental vehicle has standing to challenge a search of the vehicle, and it



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 is not necessary for this Court to determine that issue today for the following reason: even if

 Montaner imparted some sort of sub-tenant authority to Mompie by allowing him to drive the

 vehicle, it was Montaner who was driving at the time of the stop and search. Mompie was merely

 a passenger at the time of the search and the Seventh Circuit has determined that a passenger lacks

 standing because he cannot protect his privacy in a car that he has no power over. Walton, 763

 F.3d at 666. The fact that the authorized and licensed driver was driving the vehicle at the time of

 the search distinguishes this case from Sanford, where the authorized driver was not in the vehicle.

 Mompie, as a mere passenger of the vehicle at the time of the search, lacks standing to challenge

 the search of the vehicle.

 D.     The traffic stop that led to the arrest of Mompie was proper because Deputy Kirby
        had reasonable suspicion to stop the vehicle.

        Mompie also objects to the search and seizure of items on his person because the initial

 stop made by Deputy Kirby was illegal as there was no reasonable suspicion for the investigatory

 stop. (Filing No. 446 at 5-6.) Among the items seized from Mompie’s person were personal

 papers, clothing, his Indiana Commercial Driver’s License, and $435.00 in currency.

        An investigative stop is a “brief detention which gives officers a chance to verify or dispel

 well-founded suspicions that a person has been, is, or is about to be engaged in criminal activity.”

 United States v. Bullock, 632 F.3d 1004, 1014–15 (7th Cir. 2011). When determining whether a

 police officer had reasonable suspicion to stop or further detain an individual, “the district court

 must evaluate the ‘totality of the circumstances’ to assess whether the determining officer has a

 ‘particularized and objective basis’ for suspecting illegal activity.” United States v. Zambrana,

 428 F.3d 670, 675 (7th Cir. 2005). “Reasonable suspicion is more than a hunch but less than

 probable cause and considerably less than preponderance of the evidence. It requires some

 minimal level of objective justification for making a stop given the totality of the circumstances.”

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 United States v. Sokolow, 490 U.S. 1, 7 (1989); Jewett v. Anders, 521 F.3d 818, 823 (7th Cir.

 2008). In evaluating the reasonableness of an investigatory Terry stop, a court must first examine

 whether the officer’s action was justified at its inception; the court must then determine whether it

 was reasonably related in scope to the circumstances which justified the interference in the first

 place. Terry, 392 U.S. at 20; see Jewett, 521 F.3d at 823.

        Mompie argues that the initial stop of the Chevrolet Sonic was illegal because there was

 no reasonable suspicion to stop it. (Filing No. 446 at 6.) Specifically, he asserts that he and his

 associates had not been seen around the stolen tractor and trailer, and the only possible link

 between him and the stolen tractor and trailer was the fact that Deputy Kirby had been told to look

 out for a silver Chevrolet Sonic. Id. Additionally, Mompie argues that Deputy Kirby could not

 have operated under the “collective knowledge doctrine,” because Deputy Kirby was relying on

 information provided by Rowe, a private civilian. Id.

        Mompie fails to recognize that the information obtained by Rowe and conveyed to Deputy

 Kirby by Corporal Lawson of the WCSO was not the sole reliance for the stop. As detailed above,

 the investigation of Mompie and his associates was a combined effort between the FBI, local state

 police agencies, and the NICB. Additionally, Rowe testified that he was a reserve deputy with

 WCSO, which afforded him full law enforcement powers. The information possessed by all law

 enforcement officers involved in the matter constitutes exactly what the collective knowledge

 doctrine allows.

        Notably, the Court has previously determined that the stop of the silver Sonic was proper

 under the reasonable suspicion threshold as there were enough articulable facts to justify a

 reasonable suspicion by Deputy Kirby. Therefore, the stopping of the silver Sonic and search of

 his person (incident to arrest) was permissible, and Mompie’s Motion to Suppress is denied.



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                                    III. CONCLUSION

       For the reasons stated above, Montaner’s Motion to Suppress (Filing No. 437) is DENIED.

 Additionally, Mompie’s Second Amended Motion to Suppress (Filing No. 445) is also DENIED.


       SO ORDERED.


 Date: 10/20/2016




 DISTRIBUTION:

 James Adrian Earhart
 attyearhart@aol.com

 Larry D. Simon
 SIMON LAW OFFICE
 jan@hcslegal.com

 James Marshall Warden
 UNITED STATES ATTORNEY’S OFFICE
 james.warden2@usdoj.gov

 Matthew Rinka
 UNITED STATES ATTORNEY’S OFFICE
 matthew.rinka@usdoj.gov




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